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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 EDWARD EUGENE WILLIAMS,

             Plaintiff,                          Case No. 2:19-cv-10283
                                                 District Judge David M. Lawson
 v.                                              Magistrate Judge Anthony P. Patti

 ANDREOPOULOS & HILL, et al.,

           Defendants.
_________________________/

ORDER DENYING PLAINTIFF’S MOTION (ECF No. 90) TO AMEND HIS
        FED. R. CIV. P. 55(b) MOTIONS (ECF Nos. 73, 74)

      Edward Eugene Williams is currently incarcerated at the Alabama

Department of Corrections (ADOC) Staton Correctional Facility on a matter

unrelated to the case at bar. (ECF No. 11.) Williams filed the instant matter in pro

per on January 29, 2019 against twenty-six Defendants, and the Court permitted

him to proceed in forma pauperis. (ECF Nos. 2, 5.) Since then, four Defendants

have been dismissed. (ECF No. 94.)

      Meanwhile, in the nearly three year life of this lawsuit, much effort – by the

Clerk’s Office, the USMS, and the Court – has been devoted to attempting service

upon Defendants. (See, e.g., ECF Nos. 6, 28, 56, 57, 58, 64, 69, 72, 78, 99, 100.)

At this point, only twelve of the remaining twenty-two Defendants have appeared.
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Put another way, ten Defendants – Hammer, Awada, Raines, Pappas, Huntoon,

Arafat, Costigan, Al-Aridhi, Palm, and Naji – have yet to appear.

      Plaintiff has previously sought both entry of default (see Fed. R. Civ. P.

55(a)) and entry of default judgment (see Fed. R. Civ. P. 55(b)), although not in

that order. First, in April 2021, Plaintiff filed motions for “failure to appear,”

“default judgment,” and “summary judgment.” (ECF Nos. 73, 74.) On June 3,

2021, I entered a report, which recommended that, “[t]o the extent Plaintiff seeks

entry of default judgment pursuant to Fed. R. Civ. P. 55(b), Plaintiff has not first –

or at least simultaneously – requested that the Clerk of the Court enter default as to

Defendants Hammer and Awada.” (ECF No. 75, PageID.445.) Judge Lawson

denied these motions on June 3, 2021. (ECF No. 87.)

      Second, on June 4, 2021, Plaintiff filed a request for entry of default as to

Hammer, Awada and Raines (and/or non-party Jeff Dunn) (ECF No. 88), as well

as a seemingly related “motion to amend and order to show cause,” (ECF No. 90),

by which Plaintiff seeks to amend his April 2021 motions for entry of default

judgment and/or summary judgment as to Hammer and Awada (ECF Nos. 73, 74).

Thus far, the Clerk of the Court has denied Plaintiff’s request for Clerk’s entry of

default (ECF No. 88), because: (1) no summons had been returned executed as to

Awada, Hammer, and Raines; and, (2) Dunn was not a party to the lawsuit. (ECF

No. 89.)

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      Plaintiff’s seemingly related “motion to amend and order to show cause”

remains pending. Upon consideration, Plaintiff’s motion (ECF No. 90) is

DENIED. Plaintiff mentions, inter alia, “discovery of evidence,” “suppression of

material,” “fund[s] that were dispensed to Joseph Awada,” an “accounting of all

Defendants,” “[subpoenaing] records in discovery,” and, seemingly, a reference to

a “genuine dispute as to any material fact[,]” Fed. R. Civ. P. 56(a). (ECF No. 90,

PageID.533 ¶¶ 1-2.) Still, these terms speak to the merits of Plaintiff’s claims, i.e.,

they do not illustrate that “a party . . . has failed to plead or otherwise defend[.]”

Fed. R. Civ. P. 55(a). Accordingly, the Court finds no reason to amend Plaintiff’s

April 2021 Fed. R. Civ. P. 55(b) requests (ECF Nos. 73, 74) into a motion for entry

of default under Fed. R. Civ. P. 55(a) as to Defendants Hammer, Awada, and

Raines (and/or non-party Dunn). (ECF No. 90, PageID.534 ¶ 3.) Finally, to the

extent Plaintiff requests a “further case management and scheduling order . . . ,”

(ECF No. 90, PageID.543), Plaintiff may renew this request once the Court has

ruled upon Defendant Mulder’s currently pending motion to dismiss (ECF No. 84)

and/or once it is clear that any active and yet-to-appear Defendants have been

served.

      IT IS SO ORDERED.1



1
 The attention of the parties is drawn to Fed. R. Civ. P. 72(a), which provides a
period of fourteen (14) days after being served with a copy of this order within
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Dated: November 3, 2021                s/Anthony P. Patti
                                       Anthony P. Patti
                                       UNITED STATES MAGISTRATE JUDGE




which to file objections for consideration by the district judge under 28 U.S.C. §
636(b)(1).
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